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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


 UNITED STATES OF AMERICA,

 v.                                                          Case No. 8:12-CR-205-T-17MAP

 NATHANIEL HARRIS,
 NAPOLEAN HARRIS,
 CHARLIE GREEN,
 JERRY GREEN,
 COREY HARRIS,
 DEONTE MARTIN
 _______________________________________/

                            REPORT AND RECOMMENDATION

        Before me is Defendant Charlie Green's motion to suppress evidence seized as a result of an

 unlawful stop and search of the vehicle he was driving (doc. 487) and the government’s response

 (doc. 579). I held an evidentiary hearing on the motion on March 23, 2016. At the hearing, the

 government conceded the motion and, as a result, it is

        RECOMMENDED:

        1. Defendant Charlie Green's motion to suppress evidence seized as a result of an unlawful

 stop and search of the vehicle he was driving (doc. 487) be DENIED as moot.1

        IT IS SO REPORTED at Tampa, Florida on March 23, 2016.




        1
          The reason for the government’s concession is related to its concession of Charlie Green’s
 motion to suppress certain cell phone records (doc. 506). I recommended that motion be denied as
 well (see doc. 601).
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                                      NOTICE TO PARTIES

        A party has fourteen days from this date to file written objections to the Report and

 Recommendation’s factual findings and legal conclusions. A party’s failure to file written objections

 waives that party’s right to challenge on appeal any unobjected-to factual finding or legal conclusion

 the district judge adopts from the Report and Recommendation. See11th Cir. R. 3-1.




                                                   2
